     Case 3:05-cr-00395-CRB               Document 341       Filed 06/02/06   Page 1 of 2



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 2   ELIZABETH M. FALK
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 4   San Francisco, CA 94102
     Telephone: (415) 436-7700
 5
     Counsel for Defendant KIM
 6

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             )                 No. CR-05-395 CRB
                                           )
12                     Plaintiff,          )                 STIPULATION AND [PROPOSED]
                                           )                 ORDER MODIFYING CONDITIONS OF
13   vs.                                   )                 PRETRIAL RELEASE
                                           )
14   YOUNG JOON YANG et. al,               )
                                           )
15                     Defendants.         )
     _____________________________________ )
16

17
             The parties hereby stipulate and agree as follows:
18

19           1.      On June 14th, 2006, defendant Seyun Kim will appear for a change-of-plea hearing

20                   before the Honorable Charles R. Breyer;

21

22           2.      Defendant Seyun Kim hereby respectfully requests this Court to remove the

23                   curfew condition from his conditions of release;

24

25           3.      Assistant United States Attorney Peter Axelrod has no objection to defendant’s

26                   proposed bond modification, and thus has no objection to the removal of the

     United States v. Yang, 05-395 CRB;
     Motion to Remove Curfew Condition                   1
     Case 3:05-cr-00395-CRB               Document 341       Filed 06/02/06           Page 2 of 2



 1                   curfew condition from Mr. Kim’s bond;

 2

 3           4.      Defense counsel Elizabeth Falk has met and conferred with United States Pretrial

 4                   Services Officer Betty Kim, and hereby represents to the Court that Ms. Kim has

 5                   no objection to Mr. Kim being removed from the automated curfew system.

 6

 7   IT IS SO STIPULATED

 8

 9   DATED: 6/2/2006                                          __________/S/_______________
                                                              ELIZABETH M. FALK
10                                                            Assistant Federal Public Defender

11

12   DATED: 6/2/2006                                          _________/S/________________
                                                              PETER AXELROD
13                                                            Assistant United States Attorney

14   I confirm that I have on file all holograph signatures for any signatures indicated by a

15   “conformed” signature (/S/) within this e-filed document.

16

17
                                              [PROPOSED] ORDER
18

19           On the basis of the foregoing stipulation, it is HEREBY ORDERED that the conditions of

20   release for defendant Seyun Kim are modified as follows; he shall no longer be ordered to

21   comply with an automated curfew condition.
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     IT IS SO ORDERED                                                    TA
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                                                                                 ED
                                                                          ORDER
     June 2, 2006
                                                               UNIT




24                                                                     SO
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25                                                  THE HONORABLE ELIZABETH D. LAPORTE
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                                                                                     rJUDGE
                                                                             D. Lapo
                                                    UNITED STATES MAGISTRATE
                                                                                   lizabeth
                                                               NO




26                                                                       Judge E
                                                                                                         FO
                                                                RT




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     United States v. Yang, 05-395 CRB;                                 ER
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     Motion to Remove Curfew Condition                   2                                       F
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